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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
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UNITED STATES OF AMERICA,                    CASE NO. 15CR0343-BAS

                       Plaintiff,
               vs.                           JUDGMENT OF DISMISSAL
FRANCISCO VARELA REYES (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

 XX   the Court has granted the motion of the Government for dismissal,
      without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court, has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

 XX   of the offense(s) as charged in the Information:

           21: 952 and 960 - Importation of Methamphetamine



           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: MARCH 23, 2015


                                              U.S. District Judge
